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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DlVISION
JOSHUA HUMPHREY and
JEFF DAVIS,
Plaintiffs,
v. No. 05“2398 B
CITY OF MEMPHIS and

ERIC RlCHARDSON, individually,

Defendants.

 

ORDER TO SHOW CAUSE WHY MOTION OF DEFENDANT
CITY OF MEMPHIS TO DISMISS SHOULD NOT BE GRANTED

 

This lawsuit was initiated by the Plaintiffs, Joshua Humphrey and Jeff Davis, Who are
represented by eounsel, on May 31, 2005. On July 13, 2005, the Defendant, City of Memphis,
moved for dismissal pursuant to Rule 12(b)(6) of the F ederal Rules ofCivil Procedure. To date, no
response has been filed on behalf of the Plaintiffs, even though the deadline for such response under
the Local Rules of this district has passed S_ee LR7.2(a)(2) (responses to Rule lZ(b) motions must
be filed Within 30 days of service of the motion).

Accordingly, as it appears to the Court that the Plaintiffs have chosen not to pursue their
claim against this Defendant, they are hereby ORDERED, Within fifteen (15) days of the entry
hereof, to show cause Why the motion to dismiss filed by the City of Memphis should not be granted

Failure of the P]aintiffs to respond in a timely manner to this order may result in the granting of the

motion.

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IT IS SO ORDERED this l day of September, 2005.

J. A EN
ITE sTATES DISTRICT JUDB

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case 2:05-CV-02398 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

